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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                    CRIMINAL ACTION NO. 4:05CR95


KEITH GARDNER


                                            ORDER

         This cause is before the Court on the defendant’s Motion to Transfer [1215]. The Court,

having reviewed the motion and being otherwise fully advised in the premises, finds as follows, to-

wit:

         That the motion is not well-taken and should be denied inasmuch as the Court is without

authority to grant defendant a transfer to another facility. Defendant should address his concerns

to the appropriate Bureau of Prisons personnel. Accordingly,

         IT IS, THEREFORE, ORDERED AND ADJUDGED that the defendant’s Motion to

Transfer [1215] is not well-taken and should be, and hereby is, DENIED.

         SO ORDERED, this the 6th day of January, 2009.

                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
